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                           UNITED STATES DISTRICT COURT
                           SO UTH ERN D ISTRICT O F FLO R IDA
                         CaseNo.l6-8og64-cv-M iddlebrooks/BraM on

   CROC S,lN C .,

         Plaintiff,



   CV S HEA LTH CO RPO RATION ,and
   CVS PHARM ACY,lNC.,

         Defendants.

                                         /

          ORDER DENYING DEFENDANTS'M OTION TO STAY OR TRAN SFER

         THIS CAUSE is before the Courton Defendants CVS Hea1th Com oration and CVS

   Phannacy,Inc.'s (collectively,iéCVS'')M otion to Stay and/or Transferand M emorandum of
   Pointsand Authoritiesin Support(f$M otion''),filed August9,2016. (DE 28). On August26,
   2016,PlaintiffCrocs,lnc.($$Crocs'')filed itsOpposition in Partto CVS Health Comoration and
   CVS Pharmacy,lnc.'sM otion to Stay and/orTransfer(sçopposition''). (DE 39). Defendants
   filed a Reply on September6,2016 (1iReply''). (DE 42). Forthe reasonsstated below,the
   M otion to Stay orTransferisdenied.

                                         BA CK G R O UN D

         Foroverten years,Crocshasbeen engaged in patentlitigation arising from itspatented

   footwear. ln 2006, Crocs filed suit in the District of Colorado against Double Diam ond

   Distribution, Ltd. (liDouble Diamond'') and several other competitors for manufacturing
   footwearthatallegedly infringesCrocs'1789 and $858 patents(the ticolorado Action''). See
   Crocs,lnc.v.Effervescent,Inc.etJ/.,06-cv-00605-PAB-KMT (D.Colo.filed Apr.3,2006).
   Double Diamond isthe Canadian afsliate of U.S.A.Dawgs,lnc.(i:Dawgs''). From 2006 to

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   2012,tht Colorado Action was stayed in favor of lntem ationalTrade Commission (içITC'')
   proceedings. W hen the stay waslihed in mid-2012,Crocs added Dawgs as a defendantin the

   Colorado Action. Crocs also broughta separate action againstCVS in the DistrictofColorado

   forinfringing the 1789 patentby selling Dawgsfootwearin Florida- oneofthe sam esalesthatis

   thesubjectofthe instantaction. See Crocs,Inc.v.CVS Caremark Corporation,No.1:12-cv-
   02096-PAB (D.Colo.filed Aug.8,2012). TheCVS suitwasconsolidated with the Colorado
   A ction.

          On Dawgs'motion,the Colorado Action wasstayed pending the United StatesPatentand

   TrademarksOffice's($iPTO'')reexamination ofthe$789patent.On April21,2016,thestaywas
   lifted atDawgs'request,even though reexamination proceedingswere stillongoing,

          W hen thestaywaslifted,CVS tiledamotiontodismissforlack ofpersonaljurisdiction.
   Inresponse,Crocsproposed to dismissitsclaimsagainstCVS withoutprejudice ifDawgsand
   CVSstipulatedthat(1)allfootwearsoldbyDawgsto CVS wassold withintheUnited States,(2)
   Dawgs would retain samples ofeach shoe sold to CVS,(3)Dawgs would retain documents
   showing itsvolumeofsalesto CVS and itsrevenuefrom sales,and (4)CVS would notrely on
   itsstatusasa non-party totheColorado Action asabasisto objectto any discovery thatCrocs
   served on it. CV S and Dawgsrefused Crocs'proposal.

          Crocs,therefore,voluntarily dism issed CVS from the Colorado Action and instead filed

   suitagainstCVS inthisaction on June 10,2016. (DE 1). CrocsallegesthatCVS sold Dawgs
   footwear that infringes Crocs' $789 and 1465 patents at a CVS location in Florida in 2011.

   Dawgs is defending and indem nifying CV S in this law suit.

          On June 28,2016,Crocs moved to amend itscomplaintin the Colorado Action to add

   allegationsthatDawgsmanufactured footwearthatinfringed the 1465 patent. However,Dawgs


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   opposed Crocs' motion to amend,and the 1465 patent is not part of the Colorado Action.l

   Meanwhile,on July 18,2016,Dawgssued fordeclaratoryjudgementofnon-infringementand
   invalidity of the $465 patent in the District of Nevada in U S.A. Dawgs, lnc. and Double

   Diamond Distribution,Ltd.v.Crocs,Inc.,No 2:16-cv-1694 (D.Nev.Filed Jul.18,2016)(the
   ttNevadaAction'').
          CVS now requestsa stay ofthisaction untilaresolution isreached in theColorado and

   NevadaActions.(DE 28at9).Inthealternative,CVSaskstheCourttotransferthisactionto
   theDistrictofRhodeIsland,whereCVS Pharmacy,Inc.hasitsheadquarters.(DE 28at11).
   CrocsdoesnotopposeCVS'Smotion to staythisactionbutdoesopposetransferin the eventthat

   theCourtdeniesthe stay.

         A. M OTION TO STAY

                                         STA ND A R D

         çig-l-lhe powerto stay proceedings isincidentalto thepowerinherentin every courtto
   controlthe disposition ofthe causeson itsdocketwith economy oftim eand effortforitself,for

   counsel,and forlitigants. How thiscan bestbedonecallsfortheexerciseofjudgment,which
   m ustweigh com peting interestsand m aintain an even balance.'' Landisv.North American Co.,

   299U.S.248,254-55(1936).lfthereisapossibilitythatstayingamattermaydamagesomeone,
   tithe suppliantfora stay mustmake outa clearcaseofhardship orinequity in being required to

   go forward ....''ld.at255.A stay should notbe granted unless the otherproceedings will

   conclude within a reasonable time. SeeDependable Highway Exp.,Inc.v.NavigatorsIns.Co.,

   498F.3d 1059,1066(9th Cir.2007).


   ' As of Septem ber 6, 2016,according to CV S'S Replys the court had not yet ruled on Crocs'
   motion to am end the complaint.
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                                           D ISCU SSIO N


           Stay Pending theResolutionoftheNevada andColoradoActions

          CVS arguesthatthe custom er-suitexception favorsa stay untilthe Colorado andN evada

   Actions are resolved so that Crocs and Dawgs can litigate the validity of the 1789 and 1465

   patents. (DE 28 at8). Crocs agrees that it willbe more efficientto litigate the issue of
   infringementin the Colorado and Nevada Actionsbutdisputestheapplicability ofthe customer-

   suitexception.

          The customer-suit exception reverses the traditionalfirst-to-file rule for determ ining

   whichsuittostay iftherearemultipleactionspending.SeelnreNintendo ofAmerica,Inc.,756
   F.3d 1363,1365 (Fed.Cir.2014);Kahn v.Gen.Motors Corp.,889 F.2d 1078,1081(Fed.Cir.
   1989). SiW hen apatentownerfilesan infringementsuitagainstamanufacturer'scustomerand
   the manufacturer then files an action of noninfringem entorpatentinvalidity,the suit by the

   m anufacturergenerally takesprecedence ...to avoid,ifpossible,imposing the burdens oftrial

   on the custom er,foritisthe manufacturerwho isgenerally the 'tl'
                                                                  ue defendant'in thedispute.''

   In reNintendo ofAmerica,Inc.,756 F.3d at1365.However,thecustomer-suitexception does
   notapply when the m anufacturersuitcannotresolve allofthe issues in the customersuit. See

   Kahn v.Gen.Motors Corp.,889 F.2d 1078,1081-82 (Fed.Cir.1989). ln Kahn,the Federal
   Circuit refused to apply the customer-suit exception where the m anufacturer suit would not

   resolve al1 infringem ent issues and where the custom er had not agreed to be bound by the

   m anufacturer's action such thatthe rem edy would stillhave to be litigated againstthe custom er.

   1d.at 1082.

          Here,the customer-suitexception doesnotjustify a stay because Crocs'pending suits
   with the m anufacturer,Dawgs,would notresolve allthe issuesin this suitagainstthe customer,

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   CVS. Itis true thatthis Courtcould waitto see whether the Colorado and Nevada Actions

   determ ine thatDawgs footwearinfringesthe :465 and $789 patents. However,the remedies of

   damagesand an injunction againstCVS are notavailablein the Colorado and Nevada Actions
   becauseCVS isnotapartytothoseactions,havingrefusedtoconsenttopersonaljurisdiction in
   Colorado. Neither has CVS consented to be bound by the Colorado and Nevada Actions.2

   Given the history ofthe litigation involving Crocs,Dawgs,and CVS,the Courtisskepticalthat

   either CVS or Crocs would subm it to an unfavorable ruling on infringem ent rendered in

   Colorado orNevada.

         The Courtis also concerned with CVS'S gam esmanship in asserting the customer-suit

   exception.ln2012,Crocs'suitsagainstDawgsand CVSwerejoinedin theColoradoActionfor
   theeaseoflitigating both actionsin onesuit.CVS refused to consentto personaljurisdiction in
   Colorado,or even to agree to Crocs'proposalto drop the suitagainst CVS in exchange for

   ensuring CVS'Scooperation with discovery related to damagesarisingfrom CV S salesofDawgs

   footwear. Had CVS remained in the Colorado Action,the customer-suitexception would not

   haveapplied there, See,e.g.,Privasys,Inc.v.Visa Int'
                                                      l,No.C 07-03257 S1,2007 W L 3461761,

   at*3 (N.D.Cal.Nov.14,2007)(slW here,ashere,plaintiffhasbroughtsuitagainstboth the
   supplierand itscustom ersin the same suitand in the same district,the kcustomersuit'exception

   doesnotapp1y.'');HeinzKettler GM BH tf Co.p.Indian lndus.,lnc.,575 F.Supp.2d 728,730
   (E.D.Va.2008) (refusing to apply customer-suit exception to stay the action against the
   customerwherethemanufacturerand customerwereboth partiesto thesameaction);Alloc,Inc.,
   v.UnilinDecorN P:,No.02-C-1266,03-C-342,04-C-121,2005W L 3448060,at*3 (E.D.W is.


   2Although CVS statesin itsMotion (DE 28 at9),that%'geqitherofthose lawsuitswillresolve
   every singleissueofpatentinfringementbroughthere,''theCourtinteyretsthisstatementas
   argum entand notCV S'Sconsentto be bound by the resultofthose lawsults.
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   Dec.15,2005)(wheremanufacturerand customeriiare defending claimsofinfringementin the
   sameconsolidated suitinthesamejurisdiction ...thereisno issue ofwhichjurisdiction should
   be granted priority and thereforetheexception to thetypicalpriority ruleisinapposite''). After
   refusing to be partofthe Colorado Action,CVS cannotseek the protection ofthe customer-suit

   exception simply to avoid litigation.

          Additionally,itis unlikely thatthe Colorado orNevada Actionswillconclude within a

   reasonable period oftim e. The Colorado Action has been ongoing since 2006 with m ultiple

   stays. The Courtisconcerned thatthisM otion representsanotherdelay tacticby the Partiesand

   thatif the stay is granted,Slthis case will simply languish on the docket without any future

   resolution.'' See Baratta v. Homeland Housewares LLC. No. 05-60187-C1V, 2008 NUL

   10989539,at*2(S.D.Fla.Oct.28,2008).
          Accordingly,to encouragethe Partiesto move forward with this litigation,which cannot

   be fully resolved in other forums,and to discourage gam esm anship,the Courtdenies CVS'S

   moticm to staythisaction pending the resolution ofthe Colorado and NevadaActions.


          StayPending thePTO '
                             sReexamination ofthe '789Patent

          CVS argues that tht Court should stay this action for efficiency during the PTO's

   reexamination ofthe 1789 patent. (DE 28 at9).CrocscountersthatitStdoesnotbelievethata
   stay in favorofany proceedingsatthe PatentOffice isappropriate,where the m anufacturerhere

   expressly argued thatthe PatentOffice proceedings should notstay an underlying question of

   infringement.''(DE 39at4 n.3).
          iécourtsarenotrequiredtostayjudicialproceedingspendingre-examinationofapatent.''
   Nanom etrics,Inc.r.Nova M easuring Instrum ents,Ltd ,N o.C 06-2252,2007 W L 627920,at *1

   (N.D.Cal.Feb.26,2007). ln decidingwhetherto stay litigation during aPTO reexamination,
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   courtsgenerally considerthree factors:$i1)whethera stay would unduly prejudice orpresenta
   cleartacticaldisadvantageto thenon-movingparty;2)whethera staywillsimplifytheissuesin
   questionand trialofthecase;and3)whetherdiscovery iscompleteandwhetheratrialdatehas
   been set.'' Baratta v.Homeland Housewares,LLC.No.05-60187-CIV,2008 W L 10989539,at

   *2 (S.D.Fla.Oct.28,2008)(citing Xerox Corp.v,Dcom Corp.,69 F.Supp.2d 404,406
   (W .D.N.Y.1999)).çtNo one factoriscontrolling,and courtsshould considertthetotalityofthe
   circum stances'in decidingwhetherto grantastay.'' M ilosM isha Subotincicv.1274274 Ontario

   /rlc.,No.SACV 10-01946 AG,2013 W L 3964994,at#16 (C.D.Cal.Apr.9,2013)(internal
   citationsomitted).3
          The firstand third factors favora stay. This case is in itsinitialstagesand there is no

   undueprejudicetoCrocsasitdoesnotopposeastay.
          The second factor strongly w eighs against staying the case. A stay pending the PTO 's

   reexamination ofthe $789 patentwould do littleto simplify the litigation becausethe $465 patent

   wouldremain atissue.See,e.g.,M ilosMisha Subotincic,2013W L 3964994,at#16-17(tsnding
   thatthe simplification ofissues factor weighs againsta stay where the PatentOffice was not

   reexamining allasserted patentclaimsl;Nat1Prods.,lnc.p.Gamber-lohnson LLC7,No.2,
                                                                                  '12-
   CV-00840,2012 W L 3527938,at*3 (W .D.W ash.Aug.14,2012)(denying motion forstay in
   view ofreexamination where PatentOffice wasreexamining 33 of35 patentclaim sbecause the

   purpose of granting a stay was frustrated as the parties would incur m any of the same costs

   litigating the two claims not undergoing reexamination). Therefore, even if the PTO's

   3The standard forwhetherto granta stay pending aPTO reexamination hasbeen tleshed outin
   the districtcourts. The reason forthe absence ofguidance from the FederalCircuitis thatan
   order staying district courtproceedings pending reexamination by the PTO is not appealable
   unlessititeffectively disposesofthe districtcourtactionr''anarrow exception. Seek
                                                                                   s'
                                                                                    /1
                                                                                     / rrlck
   Sys.,lnc.v.MetalLite,fzlc.,159 F.3d 1337,1340 (Fed.Cir.1998).

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   reexamination resolvesthe issuesrelating to the 1789 patent,the Courtwillstillhave to conduct

   a1lphasesofapatenttrialon the1465patent,and thePartieswillbesubjecttothesameburdens
   ofdiscovery.

          Based on the totality of the circum stances,the Courtdenies CVS'S motion to stay this

   action pendingthePTO'sreexnmination ofthe :465patent.

          B. M O TIO N TO TM N SFER


                                          STA ND A R D

         Pursuantto 28 U.S.C.j 1404(a),iiltlortheconvenience ofpartiesand witnesses.in the
   interestofjustice,adistrictcourtmay transferany civilaction to any otherdistrictordivision
   where it m ight have been brought or to any district or division to which a1l parties have

   consented.'' 1d. Section 1404 authorizescourtsto transfera case in orderto avoid unnecessary

   inconvenience to the litigants, witnesses,and the public,and to conserve time,energy, and

   money. Van Dusen v.Barrack,376 U.S.612,616 (1964). The burden ison the movantto
   establish thatthe suggested forum is m ore convenient. In re Ricoh Corpk,870 F.2d 570,573

   (1lth Cir.1989). To determinewhethertransferisappropriate,courtsembark on a two-prong
   inquiry. First,thenew venuem ustbeone in which theaction could originally havebeen brought

   bytheplaintiffs. 28U.S.C.j 1404(a). Second,courtsaretoconductabalancingtest,weighing
   severalprivateandpublicinterestfactorstodetermineiftransferisjustified. SeeAm.Dredging
   Co.v.M iller,510 U.S.443(1994).
         Private factors to be weighed include:çithe relative ease ofaccess to sources ofproof;

   availability of com pulsory process for attendance of unw illing, and the cost of obtaining

   attendanceofwilling,witnesses;possibility ofview ofprem ises,ifview would beappropriateto



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   the action;and a11 other practical problems that m ake trialof a case easy,expeditious and

   inexpensive.''ld.at448. Publicinterestfactorsthatshould be considered include'
                                                                                .

         the adm inistrative difficultiestlowing from courtcongestion;the localinterestin
         having localized controversiesdecided athom e;the interestin having the trialof
         a diversity case in a forum that is at hom e with the law thatm ust govern the
         action; the avoidance of unnecessary problem s in contlict of laws, or in the
         application offoreign law ;andtheunfairnessin burdening citizensin an unrelated
         forum withjuryduty.
   1d.(quotingPi
               perAircra/tCo.v.Reyno,454 U.S.235,241n.6(1981)).Theplaintiff'schoiceof
   venue generally should not be disturbed tiunless          is clearly outweighed by other

   considerations.''Robinsonv.Giarmarco& Bill,#.C.,74F.3d 253,260(11th Cir.1996)(citation
   omitted).
                                         D ISC U SSIO N

         CVS argues that the District ofIthode Island is a m ore convenient forum because the

   decision to carry Dawgs footwear was made in Rhode Island at CVS'S headquarters, and

   thereforea1lofitswitnesses,docum ents,and othersourcesofproofitareexpected to be found in

   Rhodelsland.''(DE 28 atl2). CrocsrespondsthatCVS hasprovided no factualsupportforits
   contention thatthe witnesses and sourcesofproofare actually located in Rhode lsland. Crocs

   also arguesthatRhode Island hasno localinterestin an actofinfringem entthatoccurred in the

   Southem DistrictofFlorida.


         OriginalVenueintheDistrictofRhodelsland

         The firstconsideration under j 1404 is whetherthiscase could originally have been
   broughtin the DistrictofRhode Island. Section 1400(b)providesthatisralny civilaction for
   patentinfringementmaybebroughtin thejudicialdistrictwherethedefendantresides,orwhere
   the defendanthas comm itted acts of infringement and has a regular and established place of


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    business.'' 28U.S.C.j 1400(b). DefendantCV S Health Corporation has itsprincipalplace of
   businessin Rhodelsland andthereforeresidesin RhodeIsland.(DE 28-1,!2).DefendantCVS
   Pharmacy,Inc.isincoporatedinIthodeIslandandthereforeresidesinRhodelsland. (DE 28at
        Accordingly,the firstinquiry ofthetransferanalysisissatisfied.See28U .S.C.j1404(a).
                                                                                          4


       J. Private Factors


          The convenience to witnesses is a primary factor in determ ining whether transfer is

   appropriate.SeeInreBiosearch Techns.,/nc..452F.App'x986,989 (Fed.Cir.2011)(quoting
   lnreNintendo Co,,589F.3d 1194,1198(Fed.Cir.2009).t'Theparty seekingthetransfermust
   supportitsmotion by clearly specifying the key witnessesto becalled and particularly statingthe

   significance oftheirtestimony.'' M ason v.SmithklineBeecham ClinicalLabs.,146 F.Supp.2d

    1355,1362 (S.D.Fla.2001).Despiteprompting by the Courtand Crocs,CVS hasnotspecified
   a single key witness who is in Rhode Island. Specifically,in the August 15,2016 Scheduling

   Conference Hearing,CV S repeatedly avoided the Court'squestions asto which witnessesare in

   Rhode Island. (DE 38 at 11-12). And although Crocsraises CVS'S lack ofspecificity in its
   Response,CVS'SReply also doesnotidentify which witnessesare in Rhode Island. Thus,CVS

   has not m et its burden of showing that Ikhode Island is a m ore convenient forum for the

   witnesses.

          TheCourtalso considersthelocation wheretheevidenceand sourcesofproofare located

   in determining whethertransfer is appropriate. Besides asserting thatthe decision to carry the

   accused productwasmadein Rhodelsland,CVS hasnotindicated whatevidence and sourcesof


   4In a single sentence, CV S suggests venue is im properin the Southem D istrictofFlorida under
   28U.S.C.j1400(b)becauseneitherDefendanthasitsprincipalplaceofbusinessinthisDistrict.
   CVS,however,hascited no cases intep reting 1'a regular and established place ofbusiness''to
   m ean dlprinciple place ofbusiness.''
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   proofthatare relevantto the alleged infringing sales in Florida are located in Ithode Island. ln

   the August 15,2016 Scheduling Conference Hearing,the Courtasked CV S the advantage of

   Rhodelsland,and CVS statedvaguely thatiçlalnywitness,any evidencerelated to thedtcisions
   to carry USA DAW G shoes...would befound in Rhode lsland.'' (DE 38 at 11). W ithout
   identifying any specific evidence in Rhode Island,CVS has notshown thatRhode lsland is a

   m oreconvenientforum forevidence and sourcesofproof.

          Thus,CVS has notmetits burden of showing thatRhode lsland is a more convenient

   fonlm forthewitnesses,evidence,and sourcesofprooforthatanyotherprivate factorsfavorthe

   DistrictofRhode Island.

      J. PublicFactors

          CVS hasmade no showing thatRhode lsland isthe more convenientforum asto any of

   the public interestfactors. There is no contlictoflaw issue in thiscase thatfavorsone ofthe

   jurisdictions. There is no suggestion that courts in the Southern District of Florida are
   particularly congested. The application offoreign 1aw doesnotfavoreitherforum because both

   thisDistrictand the DistrictofRhodelsland areequally com petentto addressfederalpatentlaw.

   Finally,CVS has notshown thatRhode Island has any localinterest in the sale ofinfringing

   productsin the Southern DistrictofFlorida.Thus,no public interestfactorsfavorRhodelsland.

          Because the private and public factors do not favor transfer to the District of Ithode
   Island, the CourtdeniesCVS'smotion to transfervenue.s

          ORDERED AND ADJUDGED thatCVS'SMotion (DE 28)isDENIED.


   5 In Passing, CVS suggests that the Districts of Colorado and N evada m ight also be more
   convenientforums. However,CVS refusedto consenttopersonaljurisdiction in theDistrictof
   Colorado and has notclearly indicated thatitismoving to transferto the DistrictofNevada,or
   appropriatelybriefed them atter.
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         DONE AND ORDERED inChambersatWestPalm Beach,Florida,thiW        dayof
   Septem ber,2016,




                                                   LD M .M IDDLEBROOKS
                                              UNITED STATES DISTRICT JUDGE
   Copiesto:CounselofRecord




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